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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

x

 

GERARD CORSINI, Civil Action No.

Plaintiff,

sit 12 2587

fa)

DANIEL BRODSKY, THOMAS BRODSKY, -
THE BRODSKY ORGANIZATION, LLC, 433 Core
WEST ASSOCIATES, LLC, URBAN ASSOCIATES, cS un
LLC, MARGARET BERGIN O’CONNOR, LOUIS ng
ZADRIMA, JOSEPH PITRE, THE CITY OF NEW mo OY
YORK, MAYOR MICHAEL R. BLOOMBERG, S,
FIRST DEPUTY MAYOR PATRICIA E. HARRIS, >
POLICE COMMISSIONER RAYMOND W. KELLY,

COMMISSIONER KATHERINE L. OLIVER,

COMMISSIONER ROBERT LIMANDRI, DEPUTY PLAINTIFF DEMANDS
COMMISSIONER JOHN BATTISTA, DEPUTY A TRIAL BY JURY OF
INSPECTOR ELISA A. COKKINOS, DETECTIVE ALL CLAIMS AND
ERIC PATINO, DISTRICT ATTORNEY CYRUS R. ISSUES SO TRIABLE

VANCE, JR., ASSISTANT DISTRICT ATTORNEY

LISA DELPIZZO, ASSISTANT DISTRICT ATTORNEY
DANIEL GARNAAS-HOLMES, ELIZABETH MORGAN
AKA ELIZABETH MORGAN CARY, JONATHAN CARY,
DANIEL J. MCKAY, AARON SHMULEWITZ, BELKIN
BURDEN WENIG & GOLDMAN, LLP, AND JOHN DOES
1-25 AND JANE DOES 1-25

Defendants.
x

 

Plaintiff, pro se, Gerard Corsini, as and for his complaint in this action, alleges on
information and belief as follows:

Parties, Jurisdiction, Venue and Summary of Claims

1. Plaintiff resides and, at all times material hereto, has resided at 433 W. 21® Street,
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in the City and County of New York (the “City’’) in which all of the conduct alleged
herein took place and is suing pursuant to

(a) 42 U.S.C. §1983 and 1985 for damages against defendants, and each of them, for
having committed and for having conspired to commit acts under color of state law with
the intent and for the purpose of depriving plaintiff of established rights secured under the
First, Fourth and Fourteenth Amendments of the Constitution of the United States,
including by malicious, false arrests without any, much less probable cause, on April 18,
2012, and on July, 25, 2012 (resulting in plaintiff's hospitalization) after the illegal
storming of plaintiff's apartment on July 18, 2012, for approximately three hours with
repeated loud banging on plaintiff's door and repeated threats to break it down and the
unbearable leaning on plaintiff's buzzer, in an unconstitutional attempt, without a
warrant, to effect the false arrest made on July 25, 2012, in front of plaintiffs building
with the aid of defendant Daniel Brodsky and his companies after having aided the
unsuccessful storming of plaintiff's apartment, out of malice, which acts constituted
nothing short of “domestic renditions“ pursuant to an unconstitutional custom, practice
and policy of defendants Bloomberg (the chief and final policy-maker), Harris, Kelly (the
chief enforcer with the aid of defendants Patino, Vance, DelPizzo and Garnaas-Holmes),
LiMandri, Oliver, Battista and of the City which has the full force of law, to retaliate for,
and to deter and punish the exercise of plaintiff's established First Amendment rights to
freely express his views about, and to document and depict through photography and
videography, disruptive public commercial activities of public interest on plaintiff's
historic, residentially zoned block of twenty-one years that have involved violations of

City zoning and public property laws and regulations and, by means thereof to petition the
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City, its agencies and officials, including defendants Bloomberg, Harris, Kelly, LiMandri,
Oliver, Battista, Cokkinos and other officials and employees in the Bloomberg
Administration (John Does 2-10 and Jane Does 1-10) with whom defendants Morgan and
Cary and their friends and business associates (John Does 11-16 and Jane Does 11-16)
have corrupt influence, to enforce (and to refrain from permitting or from aiding and
abetting the violation of) those laws and regulations (all of which City officials and
employees, together with defendant Patino and defendant John Doe 1, the detective who,
with defendant Patino, falsely arrested plaintiff on July 25, 2012, and defendants John
Does 17-25 and Jane Does 17-25, City detectives and fire department, EMS and other
personnel who stormed plaintiff's apartment on July 18, 2012, with defendant Patino with
the knowledge, involvement, approval and/or ratification of, among others, defendants
Bloomberg, Harris and Kelly, are hereinafter collectively referred to as the “City
defendants‘), which rights plaintiff exercised, among other times, on May 14, 2011, by
posting a video-petition online, www.bit.ly/441 video, which is an open petition,
otherwise furnished many of the City defendants on or about that date, exercising
plaintiff's First Amendment rights to speak, to communicate through photography and
videography and to petition his government, which rights, and the exercise thereof,
defendants have willfully and maliciously violated and punished by means of the false
arrests of plaintiff on April 18, 2012, by defendant Patino, and on July 25, 2012, by
defendant Patino and John Doe 1, acting as agent(s) for and at the direction and with the
advice, instructions, approval, knowledge, urgings and/or ratification and adoption of
defendants Kelly, Bloomberg, Harris, Vance, DelPizzo and Garnaas-Holmes, as part of a

custom, practice and policy of the City and of defendant Bloomberg (who had final
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policy-making authority) and his Administration, including defendants Harris, Oliver,
Battista, Kelly (the chief enforcer of the custom, policy and practice acting through
defendant Patino and defendants Vance, DelPizzo and Garnaas-Holmes), LiMandri and
Vance and by Corporation Counsel, Michael A. Cardozo, the Mayor’s and the City’s
Chief legal counsel (the “Custom”, partially evidenced in Exhibit “1“ hereto), to permit
violations of zoning laws and regulations by those involved in commercial film or
photography activities in the City, in particular at the properties owned by defendants
Morgan and Cary and a neighbor, and, where a citizen exercises his First Amendment
right to speak out against or to document said violations to petition for enforcement of the
law and refuses to relinquish his First Amendment rights to do so when demanded by
police, to effect false arrests of such citizens, in particular plaintiff, who has been so
arrested five times pursuant to that Custom to deter and punish the exercise of his First
Amendment rights and to prevent enforcement of the laws and public awareness of said
violations and lack of enforcement, which Custom has, and has had, the full force of law;
and

(b) based upon supplemental jurisdiction, for substantial compensatory and punitive
damages under state law for the malicious, false arrests of plaintiff without probable or
other cause on April 18, 2012 by defendant Patino, and on July 25, 2012 by defendants
Patino and John Doe 1, as agents for and at the direction and with the knowledge, advice,
inducement, approval and/or ratification of defendants Bloomberg, Harris, Kelly, Vance,
DelPizzo, Garnaas-Holmes and defendants John Does 2-10 and Jane Does 1-10, for the
malicious purpose and with the malicious intention of willfully and wantonly depriving

plaintiff of his rights under the laws and Constitution of the State of New York and
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inflicting upon plaintiff and causing him to suffer severe emotional distress and
humiliation in reckless disregard of his interests and well-being with respect to the April
18, 2012, and July 25, 2012, false arrests and the outrageous, terrorist-like storming of
plaintiff's apartment for approximately three hours on July 18, 2012, by defendant Patino
and John Does 17-25 and Jane Does 17-25 as agents for and acting at the direction and
with the knowledge, involvement, approval and/or ratification of defendants Bloomberg,
Harris, Kelly, Vance, DelPizzo and Garnaas-Holmes and defendants John Does 2-10 and
Jane Does 1-10, who had a duty to protect plaintiff from said conduct and violations of
his rights.

2. The conduct of the City defendants, and each of them, alleged in paragraph 1 above
was committed

(i) in conspiracy with and aided and abetted by defendants Daniel Brodsky, Thomas

Brodsky, The Brodsky Organization, LLC, 433 West Associates, LLC, Urban Associates,
LLC, Margaret Bergin O’Connor, Louis Zadrima and Joseph Pitre (“The Brodsky
Defendants”), including through dealings by defendants O’Connor, Zadrima and Pitre,
acting for and at the direction of the other Brodsky defendants and with their authority,
authorization, approval and ratification, with defendant Patino as agent for the City
defendants, including defendants Bloomberg, Harris, Kelly, Vance, DelPizzo, Garnaas-
Holmes, Oliver, Battista, LiMardri and Cokkinos, and through the Brodsky defendants’
rendering of substantial assistance, aid and encouragement to defendant Patino, acting on
behalf of the other City defendants, with respect to the July 18, 2012 storming of
plaintiffs apartment and the July 25, 2012 false arrest of plaintiff, both of which were

carried out with the Brodsky defendants’ substantial aid and assistance and with their
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malicious, willful, wanton and outrageous disregard of plaintiff, his interests and his
constitutional and other rights and with the intent to inflict upon and cause plaintiff to
suffer, severe emotional stress, which plaintiff has suffered and continues to suffer,
including as a result of the Brodsky defendants’ malicious destruction of security tapes
evidencing defendant‘s McKay‘s harassment of plaintiff by impersonating a police
officer, to benefit defendants Morgan, Cary and McKay and to cause plaintiff severe
emotional distress, and

(ii) in conspiracy with and with the urgings and inducements of defendants
Morgan, Cary and McKay (including through direct dealings with defendants Patino and
Garnaas-Holmes as agents for and with the knowledge, involvement, approval and
ratification of the aforementioned City defendants, including Bloomberg, Harris, Kelly,
Vance, DelPizzo, Garnaas-Holmes and defendants John Does 2-10 and Jane Does 1-10,
aided and abetted by, and with the substantial assistance and encouragement of,
defendants Schmulewitz and Belkin Burden, and in conspiracy with and at the urging,
inducement and with the involvement, approval and/or ratification of John Does 11-16
and Jane Does 11-16, persons and entities engaged in film and/or photography activities
in the City, either directly or in connection with their television, magazine, catalog and
other businesses, which collectively induced and caused the City defendants, acting in
conspiracy with said other defendants, including through defendant Patino as agent for
the City defendants, to effect the false arrest of plaintiff on April 18, 2012, and through
defendant Patino (and defendant John Doe 1) as their agent(s) to effect the false arrest of
plaintiff on July 25, 2012; and acting through defendant Patino and John Does 19-25 and

Jane Does 19-25 as agents of the other City defendants to storm plaintiffs apartment on
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July 18, 2012, with the advice, urging, knowledge, approval and/or ratification of
defendants Bloomberg, Harris, Kelly, Vance, DelPizzo and Garnaas-Holmes.

3. Defendants Bloomberg, Harris, Kelly, LiMardri, Oliver, Battista, Vance, DelPizzo,
Garnaas-Holmes, Cokkinos, Patino, John Doe 1 (a detective in the Police Department),
John Does 2-10 and Jane Does 1-10 (officials of the Bloomberg Administration employed
by defendant the City) and John Does 17-25 and Jane Does 17-25 (employees of the City
who stormed plaintiff's apartment with defendant Patino at the direction and with the
knowledge, approval and/or ratification of defendants Bloomberg, Harris, Kelly, Vance,
DelPizzo and Garnaas-Holmes and in conspiracy with, and with the aid and substantial
assistance of the Brodsky defendants and the urgings, inducements and importuning of
defendants Morgan and Cary), although acting within the course and scope of their
employment and their official capacities, are all sued herein under Sections 1983 and
1985 in their individual and personal capacities and all acted, as alleged above, under
color of state law, with the intent and for the purpose of depriving plaintiff of established
rights secured under the First, Fourth and Fourteenth Amendments of the Constitution of
the United States.

4. This Court has jurisdiction pursuant to 28 U.S.C. Sections 1331, 1343 (3) and (4)
and 1367.

5. Venue in this judicial district is appropriate under 28 U.S.C. Sections 1391(b) in
that all of the events that gave rise to the claims herein occurred in this district.

6. Defendant Elizabeth Morgan at all times alleged herein and material hereto has
been an owner with her husband defendant Jonathan Cary of the residential property at

441 West 21st Street in the City, County and State of New York (the “Property“ or the
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“Residence“) which is located one building from plaintiff's residence of twenty-one years
and which, although zoned for exclusive residential use, was renovated to serve as, and
has been extensively promoted, used and licensed by defendants Morgan and Cary as a
commercial film and photography studio to the great disruption of the neighborhood, in
violation of applicable zoning regulations, in addition to the Property’s use as a part-time
residence for defendants Morgan and Cary and their family.

7. Defendant Morgan all times alleged herein and material hereto acted both for
herself and as an agent and in concert and conspiracy with defendant Jonathan Cary and
at his direction and/or for his benefit and with his agreement, encouragement,
inducement, substantial assistance, aid, abetment, approval, consent and ratification.

8. Defendant McKay at all times alleged herein and material hereto was an employee
of defendants Morgan and Cary acting within the course and scope of his employment
and/or a person acting at the direction of and in concert with said defendants, under their
control, as their agent, for their benefit and with their inducement, agreement, approval,
consent and ratification, including in supervising, coordinating and otherwise assisting
with commercial film and photography shoots illegally conducted at their residence, and
was deliberately retained by defendants Morgan and Cary even though unfit, including
after his vicious stabbing of a cab driver in front of plaintiff's residence over a parking
dispute prior to the events alleged herein.

9. Defendant Daniel Brodsky, on information and belief, is the controlling member of
all of the Brodsky defendant companies; he and defendant Thomas Brodsky control and
direct all of the Brodsky individual defendants regardless of the organization by which

they are employed; and defendant The Brodsky Organization, LLC, holds itself out as the
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alter-egos of defendants 433 West Associates, LLC (the owner of plaintiff's apartment
building) and Urban Associates, LLC (the arm of The Brodsky Organization that manages
its buildings under the control of defendants Daniel and Thomas Brodsky), which in turn
hold themselves out to be part of The Brodsky Organization; and at all times alleged
herein, each of the Brodsky defendants acted as members, agents and/or employees of
The Brodsky Organization, LLC, 433 West Associates, LLC and Urban Associates, LLC
and as agents of , under the control, and at the direction and with the approval of
defendants Daniel Brodsky, Thomas Brodsky, O‘Connor and Zadrima.

10. The block on which defendants Morgan’s and Cary’s residence (as well as
plaintiff's residence) is located is zoned solely for residential use as reflected on the
certificate of occupancy issued for the Property, and defendants Morgan’s and Cary’s use
of their residence since at least 2009 for highly disruptive commercial film and
photography shoots has been in violation of New York City laws, rules and/or regulations
applicable to the zoning for, and permitted use of, the Property and the certificate of
occupancy relating thereto.

11. Defendants Aaron Shmulewitz and Belkin Burden Wenig & Goldman, LLP
(“Belkin Burden‘), at all times material hereto have purported to be experts in real estate
law, including zoning law, and notwithstanding--indeed because of--the illegality of
Morgan’s and Cary’s extensive and highly promoted business use of their residence for
commercial film and photography shoots known to and assisted by them, designed a
common plan with and at the request and for the benefit of defendants Morgan and Cary
to cover up violations, and to prevent enforcement of, the applicable zoning laws and

regulations and substantially aided, abetted, encouraged and assisted defendants Morgan
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and Cary in carrying out that plan which involved, among other things, threats by
defendants Shmulewitz and Belkin Burden of criminal and disciplinary action for
photographing public commerical activities that they lied were not taking place and did
not involve film or photography shoots; repeated lies of said defendants to cover up those
shoots and those illegal activities; and advising, aiding and abetting and directing
Morgan’s and Cary’s urging, causing, inducing and conspiring with defendants Patino,
Kelly, Bloomberg, Vance, DelPizzo, Garnaas-Holmes and John Does 2-10 and Jane Does
1-10, for whom defendant Patino acted as agent with their full authority, knowledge,
approval and ratification, to effect false arrests and commence malicious prosecutions of
plaintiff based upon false reports by Morgan and/or McKay and perjury of defendants
Patino and Morgan known to or willfully, wantonly and intentionally disregarded by
defendants Bloomberg, Harris, Kelly, Vance, DelPizzo and Garnass-Holmes, all of whom
had a duty to plaintiff to prevent the violations of plaintiff's constitutional and other
rights but directed, approved, authorized and encouraged defendant Patino as their agent
to falsely arrest plaintiff on April 18, 2012 and on July 25, 2012 and to storm his
apartment on July 18, 2012 with other City defendants for the purpose of effecting the
warrantless, false arrest of plaintiff made on July 25, 2012, with their full authority as
their agent and with their full knowledge of the illegality thereof in furtherance of the
Custom and in conspiracy with defendants Morgan and Cary who urged, induced and
caused such violations (with the substantial assistance and encouragement of defendants
Shmulewitz and Belkin Burden in furtherance of their common plan) and in conspiracy

with and the substantial assistance of the Brodsky defendants as to the July 18, 2012, and
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July 25, 2012, violations of plaintiff's constitutional and other rights.

12. Defendants Shmulewitz and Belkin at all times material hereto acted in concert
with and as the agents of defendants Morgan and Cary and aided, abetted and conspired
with and otherwise provided substantial assistance and encouragement to defendants
Morgan and Cary in pursuance of said common plan of defendants Shmulewitz’ and
Belkin’s principal design to commit the criminal and other unlawful conduct alleged
herein with the full knowledge of its illegality and with the intention of furthering same to
harm plaintiff, including, without limitation, by means of knowingly false statements and
unfounded, improper and unlawful threats of litigation and disciplinary proceedings and
of abusive and malicious criminal prosecution, all for the improper purpose of deterring
the exercise of plaintiff's First Amendment and other rights to document by photography
public commercial activities and traffic, safety and other violations involving illegal
commercial film and photography shoots at defendants Morgan’s and Cary’s Property, so
as to prevent plaintiff from petitioning government agencies to address same.

13. Defendants Morgan, Cary and McKay, and, on information and belief defendants
Shumulewiz and Belkin, Burden, Wenig & Goldman (“Belkin”), have known of
plaintiffs opposition to and complaints to city officials concerning commercial activities
at 441 since 2009, including with respect to a highly disruptive and illegal shoot in
August, 2009 and another by Saturday Night Live (“SNL*) at 441 on April 15, 2010,
with blazing lights into the early morning hours and heavy equipment on the sidewalk
without any permit whatsoever, as to which defendant Morgan claimed through defendant
McKay, who approached plaintiff on the street the next day to tell me that NBC had lied

“to us” about having a permit, which NBC later said was completely false and that
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defendant Morgan or her representative had been informed of the lack of a permit and
assured them that “the neighbors would not mind“. (Plaintiff arranged for NBC to make
a $2500 contribution to the block association to compensate for the disruption, further
evidencing my “legitimate purpose”, and Saturday Night Live apologized profusely for
that disruption and, after viewing plaintiff's video, www. bit.ly/441 video, informed
plaintiff that it was shocking and that they would also be very upset if they lived on the
block).

14. The complicity of the City, the Police Department and defendants Bloomberg,
Cokkinos and Kelly in these violations was first apparent to plaintiff when he called the
10" precinct to see if there was a permit for the shoot on file for the SNL shoot and was
told that there was, but when he asked to come to the precinct to see it, was told by the
same person that, in fact, there really was no permit on file, namely that he had lied to
plaintiff, which he did not dispute.

15. When plaintiff then asked that a patrol car go to 441 to ascertain if there was a
permit, plaintiff was flatly told that the police department would never shut down a shoot
even when there was no permit and the use of public property in violation of the law,
without approval of the Mayor’s Office, and the officer therefore refused to send out a
patrol car and made no attempt to get a hold of anyone in the Mayor‘s Office. He then
put plaintiff on “hold” for any eternity, and when he called him back, after identifying
himself at the request of the operator, he was put on hold again only to be told, quite
unbelievably, that the officer had left. When he called defendant Kelly’s office that night
to get action, nothing was done, and no one called him back the next day.

16. Similarly, complaints to the Mayor’s office, as with a shoot in August, 2009, were
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met with intentional misstatements and evasions designed to avoid enforcing the public
property laws that had been violated by NBC and later by further misstatements and
inaction which resulted in no punishment or fine whatsoever to NBC even though severe
action had been promised by the Mayor’s Office if what had been complained about was
true, which the Mayor’s Office acknowledged was the case as well as the serious nature
of the violations. The Mayor’s Office later engaged in extreme bad faith in failing to
comply with and imposing conditions utterly inconsistent with FOIL and otherwise
seeking to evade production of documents with respect to permits for shoots on
plaintiffs block, including by blatant misrepresentations of its counsel and Deputy
Commissioner, defendant Battista with the knowledge and approval and the direction of
defendant Oliver.
First Cause of Action

16. Plaintiff realleges as if fully set forth herein each and every allegation in
paragraphs 1-16, inclusive, above

17. As alleged above, all of the City defendants, acting under the color of state law,
committed and conspired to commit, and all of the other defendants conspired with, aided
and abetted or urged and induced the City defendants as state actors, to commit acts under
color of state law on April 18, 2012, July 18, 2012 and July 25, 2012, with the intent and
for the purpose of depriving plaintiff of established rights secured under the First, Fourth
and Fourteenth Amendments of the Constitution of the United States and to intentionally
and outrageously cause him severe emotional distress to deter and punish the exercise of

his First Amendment rights, which severe injury to his rights and distress plaintiff did and
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has suffered and continues to suffer.
Second Cause of Action

18. Plaintiff realleges as if fully set forth herein each and every allegation in
paragraphs 1-17, inclusive, above.

19. As alleged above, all of the City defendants, acting under the color of state law,
committed and conspired to commit, and all of the other defendants conspired with,
aided and abetted or urged and induced the City defendants as state actors, to commit acts
under color of state law on April 18, 2012, July 18, 2012 and July 25, 2012, with the
intent and for the purpose of depriving plaintiff of established rights secured under the
Constitution and laws of the State of New York and to outrageously and intentionally
cause him severe emotional distress to deter and punish the exercise those rights, which
severe injury to his rights and distress plaintiff did and has suffered and continues to
suffer.

Third Cause of Action

20. Plaintiff realleges as if fully set forth herein each and every allegation in
paragraphs 1-19, inclusive, above.

21. The Brodsky defendants, in conspiracy with defendants Morgan, Cary and
McKay, intentionally destroyed, directed, approved and ratified the destruction by
defendant Pitre, acting within the scope and course of his employment and as agent for
said defendants, of a security tape/recording evidencing defendants Morgan’s, Cary’s and
McKay’s intentional infliction of emotional distress on plaintiff by directing and
authorizing defendant McKay to impersonate a police officer and come to plaintiffs

building owned by The Brodsky Organization and defendant 433 West Associates, LLC,
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to intentionally cause him severe emotional distress by making plaintiff believe that he
was about to be arrested, causing plaintiff extreme emotional distress, aided, abetted and
exacerbated by the intentional destruction of security tapes evidencing that outrageous
and illegal conduct and the adoption and ratification thereof by defendants Daniel
Brodsky and Thomas Brodsky after its approval by defendants O‘Connor and Zadrima.
22. All of defendants’ conduct alleged in the complaint above was outrageous,
malicious and in willful, wanton and reckless indifference and disregard of plaintiff and
his rights and was conducted in extreme bad faith with the intention of causing plaintiff
severe harm, severe emotional distress and humiliation as well as serious injury to and
violations of his fundamental constitutional rights without any justification whatsoever,
which it did, for the improper and unconstitutional purpose of retaliating for and deterring
and punishing the exercise of plaintiff's constitutional rights and to prevent him from
seeking redress for their violation and to deprive him of his liberty and due process, in
violation of his rights under the First, Fourth and Fourteenth Amendments, including to
due process, and by such illegal means to severely harm plaintiff to protect the illegal
“franchise” conducted by defendants Morgan and Cary, entitling plaintiff, among other
things, to substantial compensatory and punitive damages, namely compensatory damages
in an amount not less than $10,000,000 and punitive damage in an amount not less than

$20,000,000.

WHEREFORE, Plaintiff demands judgment against defendants, and each of them, in a
sum not less than $10,000,000 for compensatory damages and in a sum not less than

$20,000,000 for punitive damages for the intentional, wanton, willful, reckless and
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malicious harm caused him, plus interest, costs, disbursements and such other and further

relief as the Court may deem just and proper.

Dated: April 18, 2013

PLAINTIFF DEMAND A TRIAL BY JURY OF ALL CLAIMS AND ISSUES SO

TRIABLE

Gerard A. Corsini

 

a?

Gerard A. Corsini
Plaintiff pro se
433 W. 21" St., Apt 9A
New York. NY 10011
212-255-3232

gcorsini@gmail.com

 
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Buildings

Robert D. LiMandri October 4, 2012
Cormmussioner
rlimandn@buildings nyc gov

Gerard A. Corsini

Timothy Hogan 433 West 21" Street
Deputy Commissioner of Apt 9A
Enforcement New York, NY 10011

thogan@ouidings nyc gov

Re. 425 W. 21 Street, Manhattan
280 Broadway

Seventh Floor
New York, NY 10007
www. nyc.gov/building

Dear Mr. Corsini,

| am writing this letter in response to your initial contact with my office regarding
+4212 442 7188 tel film shoots at the above referenced premises. in New York City, it is customary to
+212 566 3865 fax have occasional/incidental commercial! film/photography shoots inside residences.
Occasional commercial film/photography shoots are allowed in residences as
ancillary or incidental to the principal residence use. We have consulted with our
General Counsel's Office, the Mayor’s Office of Media and Entertainment. the
Mayor's Office of Special Enforcement and the New York City Law Department
regarding this matter.

If there ig an issue on the block with illegal parking, blocked sidewalks or double
parking, it should be addressed to the local police precinct as they are best suited
to deal with congestion and access issues. Please contact 311 with any
complaints regarding use or occupancy of the residence, and your complaints will
be investigated.

Sincerely,

— a
imothy Hogan

 

Deputy Commissiotier of Enforcement
